Case 4:16-cv-01020 Document 36 Filed in TXSD on 05/31/18 Page 1 of 22
                                                              United States District Court
                                                                Southern District of Texas

                                                                   ENTERED
                                                                   May 31, 2018
                                                                David J. Bradley, Clerk
Case 4:16-cv-01020 Document 36 Filed in TXSD on 05/31/18 Page 2 of 22
Case 4:16-cv-01020 Document 36 Filed in TXSD on 05/31/18 Page 3 of 22
Case 4:16-cv-01020 Document 36 Filed in TXSD on 05/31/18 Page 4 of 22
Case 4:16-cv-01020 Document 36 Filed in TXSD on 05/31/18 Page 5 of 22
Case 4:16-cv-01020 Document 36 Filed in TXSD on 05/31/18 Page 6 of 22
Case 4:16-cv-01020 Document 36 Filed in TXSD on 05/31/18 Page 7 of 22
Case 4:16-cv-01020 Document 36 Filed in TXSD on 05/31/18 Page 8 of 22
Case 4:16-cv-01020 Document 36 Filed in TXSD on 05/31/18 Page 9 of 22
Case 4:16-cv-01020 Document 36 Filed in TXSD on 05/31/18 Page 10 of 22
Case 4:16-cv-01020 Document 36 Filed in TXSD on 05/31/18 Page 11 of 22
Case 4:16-cv-01020 Document 36 Filed in TXSD on 05/31/18 Page 12 of 22
Case 4:16-cv-01020 Document 36 Filed in TXSD on 05/31/18 Page 13 of 22
Case 4:16-cv-01020 Document 36 Filed in TXSD on 05/31/18 Page 14 of 22
Case 4:16-cv-01020 Document 36 Filed in TXSD on 05/31/18 Page 15 of 22
Case 4:16-cv-01020 Document 36 Filed in TXSD on 05/31/18 Page 16 of 22
Case 4:16-cv-01020 Document 36 Filed in TXSD on 05/31/18 Page 17 of 22
Case 4:16-cv-01020 Document 36 Filed in TXSD on 05/31/18 Page 18 of 22
Case 4:16-cv-01020 Document 36 Filed in TXSD on 05/31/18 Page 19 of 22
Case 4:16-cv-01020 Document 36 Filed in TXSD on 05/31/18 Page 20 of 22
Case 4:16-cv-01020 Document 36 Filed in TXSD on 05/31/18 Page 21 of 22
Case 4:16-cv-01020 Document 36 Filed in TXSD on 05/31/18 Page 22 of 22
